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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                               CASE NO.

  NELSON FERNANDEZ,

         Plaintiff,

  vs.

  UZZI AMPHIBIOUS GEAR, LLC.,
  a Florida limited liability company

         Defendant.
   _________________________________/

                                             COMPLAINT

         Plaintiff NELSON FERNANDEZ, through undersigned counsel, sues Defendant UZZI

  AMPHIBIOUS GEAR, LLC., a Florida limited liability company, and alleges as follows:

         1.      This is an action for declaratory and injunctive relief pursuant to Title III of the

  Americans with Disabilities Act, 42 U.S.C. §§12181-12189 (“ADA”), as amended, and 28 C.F.R.

  Part 36. This also is an action for declaratory and injunctive relief, damages, attorney’s fees, costs,

  and expenses for lawful discrimination in violation of the Rehabilitation Act of 1973, 29 U.S.C.

  §794, et seq. (“Rehab Act”).

         2.      This Court has jurisdiction over this case based on federal question jurisdiction, 28

  U.S.C. §1331, and the provisions of the ADA and the Rehab Act. Plaintiff also seeks declaratory

  and injunctive relief pursuant to 28 U.S.C. §§2201 and 2202.

         3.      Venue is proper in this Court as all actions complained of herein and injuries and

  damages suffered occurred in the Southern District of Florida.

         4.      Plaintiff NELSON FERNANDEZ is a resident of Palm Beach County, Florida, is

  sui juris, and is disabled as defined by the ADA and ADA Amendments Act of 2008, 42 U.S.C.

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  §12101 (“ADAAA”). Plaintiff is also expressly authorized to bring this case as an otherwise

  qualified individual with a disability under the Rehab Act, 29 U.S.C. §§794(a)(2) and

  794(b)(3)(A), and under Section 505-f the Rehab Act, which enforces Section 504 of the Rehab

  Act, 29 U.S.C. §§794 and 794a, incorporating the rights and remedies set forth in Title VI of the

  Civil Rights Act of 1964, 42 U.S.C. §2000d, et seq.

         5.      Plaintiff is and at all relevant times has been visually and physically disabled,

  having been diagnosed with Relapsing-Remitting Multiple Sclerosis (“RRMS”). As a result of his

  disease, Plaintiff is currently paralyzed in approximately 80% to 90% of his body as a whole and

  only has limited use of his left hand. Further, because of his disease, Plaintiff has developed optic

  neuritis and is visually disabled, with complete blindness in one eye and only limited vision in the

  other eye. Plaintiff thus is substantially limited in performing one or more major life activities,

  including, but not limited to, sight, accurately visualizing his world, and adequately traversing

  obstacles. As such, he is a member of a protected class under the ADA, 42 U.S.C. §12102(1)-(2),

  the regulations implementing the ADA set forth at 28 CFR §§36.101, et seq., and in 42 U.S.C.

  §3602(h). Plaintiff is also an otherwise qualified individual with a disability who has been denied

  the benefits of a program or activity receiving federal financial assistance and is covered by the

  Rehab Act, 29 U.S.C. §794(a) and (b).

         6.      Because he is visually disabled, Plaintiff cannot use his computer without the

  assistance of appropriate and available auxiliary aids, screen reader software, and other technology

  and assistance. Screen reader software translates the visual internet into an auditory equivalent.

  At a rapid pace, the software reads the content of a webpage to the user. “The screen reading

  software uses auditory cues to allow a visually impaired user to effectively use websites. For

  example, when using the visual internet, a seeing user learns that a link may be ‘clicked,’ which



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  will bring him to another webpage, through visual cues, such as a change in the color of the text

  (often text is turned from black to blue). When the sighted user's cursor hovers over the link, it

  changes from an arrow symbol to a hand. The screen reading software uses auditory -- rather than

  visual -- cues to relay this same information. When a sight impaired individual reaches a link that

  may be ‘clicked on,’ the software reads the link to the user, and after reading the text of the link

  says the word ‘clickable.’…Through a series of auditory cues read aloud by the screen reader, the

  visually impaired user can navigate a website by listening and responding with his keyboard.”

  Andrews v. Blick Art Materials, LLC, 17-CV-767, 2017 WL 6542466, at *6-7 (E.D.N.Y. Dec. 21,

  2017).

           7.    Defendant is a Florida limited liability company authorized to do business and

  doing business in the State of Florida. Defendant owns, operates, and controls a retail swimwear

  store that Plaintiff had patronized and intends to patronize in the near future located at 205 Ansin

  Boulevard, Hallandale Beach, Florida. Defendant also owns, leases, leases to, or operates a

  business that is the recipient of federal financial assistance for the company as a whole within the

  meaning of Rehab Act, 29 U.S.C. §794(b)(3)(A)(i). See attached Exhibit “A”.

           8.    Plaintiff’s visual disability limits him in the performance of one or more major life

  activities, including sight, and he requires assistive technologies and auxiliary aids and services

  for effective communication, including communication in connection with the use of his computer.

           9.    Plaintiff frequently accesses the internet. Because he is significantly and

  permanently visually disabled, to effectively communicate and comprehend information available

  on the internet and thereby access and comprehend websites, Plaintiff uses commercially available

  screen reader software to interface with the various websites.




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         10.     At all times material hereto, Defendant was and still is an organization that owns

  and operates a swimwear store under the name “Uzzi Amphibious.” The Uzzi Amphibious store

  is open to the public. As the owner and operator of this retail store, Defendant is defined as a place

  of “public accommodation" within meaning of Title III because Defendant is a private entity which

  owns and/or operates “[A] bakery, grocery store, clothing store, hardware store, shopping center,

  or other sales or rental establishment,” per 42 U.S.C. §12181(7)(E) and 28 C.F.R. §36.104(2).

         11.     Because Defendant is a store open to the public, it is a place of public

  accommodation subject to the requirements of Title III of the ADA and its implementing

  regulations, 42 U.S.C. §12182, §12181(7)(E) and 28 C.F.R. Part 36.

         12.     Defendant also controls, maintains, and/or operates an adjunct website,

  https://uzzi.com (hereinafter the “Website”). One of the functions of the Website is to provide the

  public information on Defendant’s store, which sells Defendant’s merchandise within the State of

  Florida. Defendant also sells to the public its merchandise through the Website, which acts as a

  critical point of sale for Defendant’s merchandise that is also available in Defendant’s physical

  store. In addition, Defendant’s website allows the public to pick up and return merchandise

  purchased online at its physical store location.

         13.     The Website also services Defendant’s physical store by providing information on

  available merchandise, tips and advice, editorials, sales campaigns, events, and other information

  that Defendant is interested in communicating to its customers.

         14.     Because the Website allows the public the ability to secure information about the

  location of Defendant’s physical store, purchase merchandise also available for purchase in the

  physical store, purchase gift cards for use in the physical store, arrange for in-store pickups of

  merchandise, and sign up for an electronic emailer to receive exclusive offers, benefits, invitations,



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  and discounts for use in the physical store, the Website is a necessary extension of, and gateway

  to, the same goods, services, privileges, and advantages as are available in Defendant’s physical

  store, which is a place of public accommodation under the ADA. As an extension of, and necessary

  service, privilege, and advantage provided by, a place of public accommodation as defined under

  the ADA, the Website is an extension of the goods, services, privileges, and advantages made

  available to the general public by Defendant at and through its brick-and-mortar location and

  business. Furthermore, the Website is a necessary service and privilege of Defendant’s physical

  store in that, as a point of sale for Defendant’s store, it enables users of the Website to make online

  purchases of Defendant’s merchandise that is also available for purchase in its physical store.

         15.      Because the public can view and purchase Defendant’s merchandise through the

  Website that is also offered for sale in Defendant’s physical store, thus having the Website act as

  a point of sale for Defendant’s merchandise sold in the physical store, purchase gift cards for use

  both online and in the physical store, arrange online for in-store pickups of merchandise, and sign

  up for an electronic emailer to receive exclusive online offers, benefits, invitations, and discounts

  for use online and in the physical store, the Website is a necessary extension of, and gateway to

  the physical store, which is a place of public accommodation pursuant to the ADA, 42 U.S.C.

  §12181(7)(E).     As such, the Website is a necessary service, privilege, and advantage of

  Defendant’s brick and mortar store that must comply with all requirements of the ADA, must not

  discriminate against individuals with visual disabilities, and must not deny those individuals the

  same full and equal enjoyment of the goods, services, privileges, and advantages afforded the non-

  visually disabled general public both online and in the physical store.

         16.      At all times material hereto, Defendant was and still is an organization owning,

  operating, and controlling the Website. Since the Website is open to the public through the internet



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  and is connected to Defendant’s physical store, the Website is a necessary service, privilege, and

  advantage of Defendant’s brick-and-mortar store that must comply with all requirements of the

  ADA, must not discriminate against individuals with visual disabilities, and must not deny those

  individuals the full and equal enjoyment of the goods, services, privileges, and advantages afforded

  the non-visually disabled public both online and in the physical store. As such, Defendant has

  subjected itself and the Website to the requirements of the ADA. In addition, as a recipient of

  federal financial assistance to the company as a whole, Defendant has subjected itself and all of its

  operations, programs, and activities, including its Website, to the requirements and prohibitions of

  the Rehab Act.

         17.       Plaintiff is and has been a customer who is interested in patronizing, and intends to

  patronize in the near future once the Website’s access barriers described herein are removed or

  remedied, Defendant’s physical store and to check store hours and merchandise pricing, purchase

  merchandise, purchase gift cards, arrange of in-store pickups of merchandise, and sign up for an

  electronic emailer to receive exclusive offers, benefits, invitations, and discounts for use on the

  Website or in the physical store.

         18.       The opportunity to shop and pre-shop Defendant’s merchandise, purchase gift cards

  for use online and in the physical store, arrange of in-store pickups, and sign up for an electronic

  emailer to receive exclusive online offers, benefits, invitations, and discounts for use both online

  and in the physical store from his home are a necessary and important accommodations for Plaintiff

  to access Defendants physical location because traveling outside of his home as a physically and

  visually disabled individual is often difficult, hazardous, frightening, frustrating, and confusing

  experience. Defendant has not provided its business information in any other digital format that

  is accessible for use by blind and visually disabled individuals using screen reader software.



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         19.     Like many consumers, Plaintiff accesses a number of websites at a time to help plan

  his visits and compare merchandise, prices, sales, discounts, and promotions. Plaintiff may look

  at several dozens of sites to compare features, discounts, promotions, and prices.

         20.     During the month of May 2021, Plaintiff attempted on a number of occasions to

  utilize the Website to browse through the merchandise and online offers to educate himself as to

  the merchandise, sales, discounts, and promotions being offered, to learn about the brick-and-

  mortar store, check store hours, and check merchandise pricing with the intention of making a

  purchase through the Website or at Defendant’s physical store.

         21.     Plaintiff utilizes available screen reader software that allows individuals who are

  blind and visually disabled to communicate with websites. However, Defendant’s Website

  contains access barriers that prevent its free and full use by blind and visually disabled individuals

  using keyboards and available screen reader software. These barriers are pervasive and include,

  but are not limited to:

                 a. Social media links located at the header of the website are mislabeled as “link’;

                 b. Site function like menu drop-down options are not labeled to integrate with the
                 screen reader;

                 c. Site functions such as shopping cart and search button are mislabeled; and

                 d. Product price is not labeled to integrate with the screen reader.

         22.     The Website also lacks prompting information and accommodations necessary to

  allow blind and visually disabled individuals who use screen reader software to locate and

  accurately fill out online forms to purchase Defendant’s merchandise from the Website.

         23.     Plaintiff attempted to locate an “accessibility” notice, statement, or policy on the

  Website that would direct him to a webpage with contact information for disabled individuals who

  have questions or concerns about, or who are having difficulties communicating with, the Website.

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  However, Plaintiff was unable to do so because no such link or notice, statement, or policy existed

  on the Website.

         24.     The fact that Plaintiff could not communicate with or within the Website left him

  feeling excluded as he is unable to participate in the same shopping experience, with the same

  access to the merchandise, goods, sales, discounts, promotions, programs, and activities, as

  provided on the Website and at the physical store to the non-visually disabled public.

         25.     Plaintiff desires and intends, in the near future once the Website’s access barriers

  are removed or remedied, to patronize Defendant’s store and to use the Website as a necessary

  extension, service, privilege, and advantage of the physical store, but he is presently unable to fully

  do so, as he is unable to fully and effectively communicate with Defendant’s physical store due to

  his severe visual disability and the Website’s access barriers. Thus, Plaintiff, as well as others who

  are blind and with visual disabilities, will suffer continuous and ongoing harm from Defendant’s

  intentional acts, omissions, policies, and practices as set forth herein unless properly enjoined by

  this Court.

         26.     Because the Website clearly provides support for and is directly connected with

  Defendant’s retail store for its goods, services, operation, and use, and thus is a necessary

  extension, service, privilege, advantage, and accommodation of Defendant’s brick-and-mortar

  store for the purchase of Defendant’s merchandise, the Website must comply with all requirements

  of the ADA, must not discriminate against individuals with disabilities, and must not deny those

  individuals the same full and equal access to and enjoyment of the goods, services, privileges,

  advantages, as are afforded the non-visually disabled public both online and in the physical store,

  which is a place of public accommodation subject to the requirements of the ADA. In addition,

  because Defendant is a recipient of federal financial assistance as a whole, Defendant is also



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  subject to the requirements of the Rehab Act and must not discriminate against qualified or

  otherwise qualified individuals with disabilities in any of its “programs and activities.”

          27.     On information and belief, Defendant has not initiated a Web Accessibility Policy

  to ensure full and equal use of the Website by individuals with disabilities.

          28.     On information and belief, Defendant has not instituted a Web Accessibility

  Committee to ensure full and equal use of Website by individuals with disabilities.

          29.     On information and belief, Defendant has not designated an employee as a Web

  Accessibility Coordinator to ensure full and equal use of the Website by individuals with

  disabilities.

          30.     On information and belief, Defendant has not instituted a Web Accessibility User

  Accessibility Testing Group to ensure full and equal use of the Website by individuals with

  disabilities.

          31.     On information and belief, Defendant has not instituted a User Accessibility

  Testing Group to ensure full and equal use of the Website by individuals with disabilities.

          32.     On information and belief, Defendant has not instituted a Bug Fix Priority Policy.

          33.     On information and belief, Defendant has not instituted an Automated Web

  Accessibility Testing program.

          34.     Defendant has not created and instituted a Specialized Customer Assistance line or

  service or email contact mode for customer assistance for the blind and visually disabled.

          35.     Defendant has not created and instituted on the Website a page for individuals with

  disabilities, nor displayed a link and information hotline, nor created an information portal

  explaining when and how Defendant will have the Website, applications, and digital assets

  accessible to the visually disabled or blind community.



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           36.     The Website does not meet the Web Content Accessibility Guidelines (“WCAG”)

   2.0 Level AA or higher versions of web accessibility.

           37.     Defendant has not disclosed to the public any intended audits, changes, or lawsuits

   to correct the inaccessibility of the Website to blind and visually disabled individuals who want

   the safety and privacy of purchasing Defendant’s merchandise offered on the Website online from

   their homes.

           38.     Thus, Defendant has not provided full and equal access to and enjoyment of the

   goods, services, facilities, privileges, advantages, accommodations, programs, and activities

   provided by and through the Website in contravention of the ADA and the Rehab Act.

           39.     Public accommodations under the ADA must ensure that their places of public

   accommodation provide effective communication for all members of the general public, including

   individuals with visual disabilities such as Plaintiff. Likewise, under the Rehab Act, public

   accommodations and companies that receive federal financial assistance as a whole must not

   discriminate against disabled persons and are required to make the facilities, programs, and

   activities they operate, including their websites, fully and readily accessible to persons with

   disabilities.

           40.     The broad mandate of the ADA is to provide an equal opportunity for individuals

   with disabilities to participate in and benefit from all aspects of American civic and economic life.

   That mandate extends to internet shopping websites, such as the Website at issue in the instant

   action. In addition, Congress enacted the Rehab Act to enforce the policy of the United States that

   all programs, projects, and activities receiving federal assistance “... be carried out in a manner

   consistent with the principles of ... inclusion, integration and full participation of the individuals

   [with disabilities]." 29 U.S.C. §701(c)(3).



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          41.     On information and belief, Defendant is, and at all relevant times has been, aware

   of the barriers to effective communication within the Website which prevent individuals with

   visual disabilities from the means to comprehend information presented therein.

          42.     On information and belief, Defendant is, and at all relevant times has been, aware

   of the need to provide full access to all visitors to the Website.

          43.      The barriers that exist on the Website result in discriminatory and unequal

   treatment of individuals with visual disabilities such as Plaintiff.

          44.     Plaintiff has no plain, adequate, or complete remedy at law to redress the wrongs

   alleged hereinabove, and this suit for declaratory judgment and injunctive relief is his only means

   to secure adequate and complete redress from Defendant’s unlawful and discriminatory practices

   in connection with the Website access and its operation.

          45.     Notice to Defendant is not required because of Defendant’s failure to cure the

   violations.

          46.     Enforcement of Plaintiff’s rights under the ADA and the Rehab Act is right and just

   pursuant to 28 U.S.C. §§2201 and 2202.

          47.     Plaintiff has retained the undersigned attorneys to represent him in this case and

   has agreed to pay them a reasonable fee for their services.

                               COUNT I – VIOLATION OF THE ADA

          48.     Plaintiff re-alleges paragraphs 1 through 47 as if set forth fully herein.

          49.     Pursuant to 42 U.S.C. §12181(7)(E), Defendant is a public accommodation under

   the ADA as defined within §12181(7)(E) and thus is subject to the ADA.

          50.     Pursuant to 42 U.S.C. §12181(7)(E), the Website is covered under the ADA

   because it provides the general public with the ability to locate and learn about Defendant’s



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   physical store, purchase merchandise that is also available for purchase in the physical store,

   purchase gift cards for use both online and in the physical store, arrange for in-store pickups of

   purchased merchandise, and sign up for an electronic emailer to receive exclusive online offers,

   benefits, invitations, and discounts for use both online and in the physical store. The Website thus

   is a necessary extension of, and gateway to, the goods, services, privileges, and advantages of

   Defendant’s physical store. Further, the Website also serves to augment Defendant’s physical

   store by providing the public information on the location of the physical store and by educating

   the public as to Defendant’s available products sold through the Website and in the physical store.

          51.     Under Title III of the ADA, 42 U.S.C. §12182(b)(1)(A)(II), it is unlawful

   discrimination to deny individuals with disabilities or a class of individuals with disabilities an

   opportunity to participate in or benefit from the goods, services, facilities, privileges, advantages,

   or accommodation, which is equal to the opportunities afforded to other individuals.

          52.     Specifically, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(II), unlawful

   discrimination includes, among other things, “a failure to make reasonable modifications in

   policies, practices, or procedures, when such modifications are necessary to afford such goods,

   services, facilities, privileges, advantages, or accommodations to individuals with disabilities,

   unless the entity can demonstrate that making such modifications would fundamentally alter the

   nature of such goods, services, facilities, privileges, advantages or accommodations.”

          53.     In addition, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(III), unlawful

   discrimination includes, among other things, “a failure to take such steps, as may be necessary to

   ensure that no individual with a disability is excluded, denied services, segregated or otherwise

   treated differently than other individuals because of the absence of auxiliary aids and services,

   unless the entity can demonstrate that taking such steps would fundamentally alter the nature of



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   the good, service, facility, privilege, advantage, or accommodation being offered or would result

   in an undue burden.”

          54.     Defendant’s Website must comply with the ADA, but it does not as specifically

   alleged hereinabove and below.

          55.     Because of the inaccessibility of the Website, individuals with visual disabilities

   are denied full and equal access to and enjoyment of the goods, information, and services that

   Defendant has made available to the public on the Website and in its physical store in violation of

   42 U.S.C. §12101, et seq., and as prohibited by 42 U.S.C. §12182, et seq.

          56.     The Website was subsequently visited by Plaintiff’s expert in May 2021, and the

   expert determination was that the same access barriers that Plaintiff had initially encountered, as

   well as numerous additional access barriers, existed. Defendant thus has made insufficient

   material changes or improvements to the Website to enable its full use and enjoyment by, and

   accessibility to, visually disabled persons such as Plaintiff. Defendant also has not disclosed to

   the public any intended audits, changes, or lawsuits to correct the inaccessibility of the Website to

   visually disabled individuals, nor has it posted on the Website a conspicuous and effective

   “accessibility” notice, statement, or policy to provide blind and visually disabled persons such as

   Plaintiff with a viable alternative means to access and navigate the Website. Defendant thus has

   failed to make reasonable modifications in its policies, practices, or procedures when such

   modifications are necessary to afford goods, services, facilities, privileges, advantages, or

   accommodations to individuals with disabilities, in violation of 28 C.F.R. §36.302. The lack of a

   viable and effective “accessibility” notice, policy, or statement and the numerous access barriers

   as set forth in the Declaration of Plaintiff’s expert, Robert D. Moody, attached hereto as Composite




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   Exhibit “B” and the contents of which are incorporated herein by reference, continue to render the

   Website not fully accessible to users who are blind and visually disabled, including Plaintiff.

           57.     More violations may be present on other pages of the Website, which can and will

   be determined and proven through the discovery process in this case.

           58.     Further, the Website does not offer or include the universal symbol for the disabled

   that would permit disabled individuals to access the Website’s accessibility information and

   accessibility facts.

           59.     There are readily available, well-established guidelines on the internet for making

   Websites accessible to the blind and visually disabled. These guidelines have been followed by

   other large business entities in making their websites accessible. Examples of such guidelines

   include, but are not limited to, adding alt-text to graphics and ensuring that all functions can be

   performed using a keyboard. Incorporating such basic components to make the Website accessible

   would neither fundamentally alter the nature of Defendant’s business nor would it result in an

   undue burden to Defendant.

           60.     Defendant has violated the ADA – and continues to violate the ADA – by denying

   access to the Website by individuals, such as Plaintiff, with visual disabilities who require the

   assistance of interface with screen reader software to comprehend and access internet websites.

   These violations within the Website are ongoing.

           61.     The ADA require that public accommodations and places of public accommodation

   ensure that communication is effective.

           62.     According to 28 C.F.R. §36.303(b)(1), auxiliary aids and services include “voice,

   text, and video-based telecommunications products and systems.” Indeed, 28 C.F.R. §36.303(b)(2)




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   specifically states that screen reader software is an effective method of making visually delivered

   material available to individuals who are blind or have low vision.

          63.     According to 28 C.F.R. §36.303(c), public accommodations must furnish

   appropriate auxiliary aids and services where necessary to ensure effective communication with

   individuals with disabilities: “In order to be effective, auxiliary aids and services must be provided

   in accessible formats, in a timely manner, and in such a way as to protect the privacy and

   independence of the individual with a disability,” 28 C.F.R. §36.303(c)(1)(ii).

          64.     Part 36 of Title 28 of the C.F.R. was designed and is implemented to effectuate

   subtitle A of Title III of the ADA, which prohibits discrimination on the basis of disability by

   public accommodations, and requires places of public accommodation to be designed, constructed,

   and altered in compliance with the accessibility standards established by Part 36.

          65.     As alleged hereinabove, the Website has not been designed to interface with the

   widely and readily available technologies that can be used to ensure effective communication and

   thus violates the ADA.

          66.     As a direct and proximate result of Defendant’s failure to provide an ADA

   compliant Website that is an extension, service, privilege, and advantage of, and critical and

   necessary point of sale for, Defendant’s brick and mortar store, Plaintiff has suffered an injury in

   fact by being denied communication with and full access to and enjoyment of the goods, services,

   privileges, and advantages of Defendant’s physical store.

          67.     Because of the inadequate development and administration of the Website, Plaintiff

   is entitled to injunctive relief pursuant to 42 U.S.C. §12133 and 28 C.F.R. §36.303, to remedy the

   ongoing disability discrimination.




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          68.     Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant

   Plaintiff appropriate and necessary injunctive relief, including an order to:

          a) Require Defendant to adopt and implement a web accessibility policy to make publicly

   available and directly link from the homepage of the Website to a functional statement as to the

   Defendant’s policy to ensure persons with visual disabilities have full and equal enjoyment of the

   goods, services, facilities, privileges, advantages, and accommodations through the Website.

          b) Require Defendant to take the necessary steps to make the Website readily accessible

   to and usable by blind and visually disabled users, and during that time period prior to the

   Website’s being made readily accessible, to provide an alternative method for individuals with

   visual disabilities to access the information available on the Website until such time that the

   requisite modifications are made, and

          c) Require Defendant to provide the appropriate auxiliary aids such that individuals with

   visual disabilities will be able to effectively communicate with the Website for purposes of

   viewing and locating Defendant’s physical store and becoming informed of and purchasing

   Defendant’s merchandise online, and during that time period prior to the Website’s being designed

   to permit individuals with visual disabilities to effectively communicate, to provide an alternative

   method for individuals with visual disabilities to effectively communicate for such goods and

   services made available to the general public through the Website.

          69.     Plaintiff is entitled to recover his reasonable attorney’s fees, costs, and expenses

   pursuant to the ADA. To that end, Plaintiff has been obligated to retain the undersigned counsel

   for the filing and prosecution of this action and has agreed to pay them a reasonable fee for their

   services.




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          WHEREFORE, Plaintiff requests entry of judgment in his favor and against Defendant for

   the following relief:

          A. A declaration that Defendant’s Website is in violation of the ADA;

          B. An Order requiring Defendant, by a date certain, to update the Website, and continue

              to monitor and update the Website on an ongoing basis, to remove barriers in order that

              individuals with visual disabilities can access, and continue to access, the Website and

              effectively communicate with the Website to the full extent required by Title III of the

              ADA;

          C. An Order requiring Defendant, by a date certain, to clearly display the universal

              disabled logo within the Website, wherein the logo 1 would lead to a page which would

              state Defendant’s accessibility information, facts, policies, and accommodations. Such

              a clear display of the disabled logo is to ensure that individuals who are disabled are

              aware of the availability of the accessible features of the Website;

          D. An Order requiring Defendant, by a date certain, to provide ongoing support for web

              accessibility by implementing a website accessibility coordinator, a website application

              accessibility policy, and providing for website accessibility feedback to ensure

              compliance thereto;

          E. An Order directing Defendant, by a date certain, to evaluate its policies, practices and

              procedures toward persons with disabilities, for such reasonable time to allow

              Defendant to undertake and complete corrective procedures to its Website;




   1
                       or similar.
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        F. An Order directing Defendant, by a date certain, to establish a policy of web

           accessibility and accessibility features for the Website to ensure effective

           communication for individuals who are visually disabled;

        G. An Order requiring, by a date certain, that any third-party vendors who participate on

           Defendant’s Website to be fully accessible to the visually disabled;

        H. An Order directing Defendant, by a date certain and at least once yearly thereafter, to

           provide mandatory web accessibility training to all employees who write or develop

           programs or code for, or who publish final content to, the Website on how to conform

           all web content and services with ADA accessibility requirements and applicable

           accessibility guidelines;

        I. An Order directing Defendant, by a date certain and at least once every three months

           thereafter, to conduct automated accessibility tests of the Website to identify any

           instances where the Website is no longer in conformance with the accessibility

           requirements of the ADA and any applicable accessibility guidelines, and further

           directing Defendant to send a copy of the twelve (12) quarterly reports to Plaintiff’s

           counsel for review;

        J. An Order directing Defendant, by a date certain, to make publicly available and directly

           link from the Website homepage, a statement of Defendant’s Accessibility Policy to

           ensure the persons with disabilities have full and equal enjoyment of the Website and

           shall accompany the public policy statement with an accessible means of submitting

           accessibility questions and problems;

        K. An award to Plaintiff of her reasonable attorney’s fees, costs, and expenses; and

        L. Such other and further relief as the Court deems just and equitable.



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                   COUNT II – VIOLATION OF THE REHABILITATION ACT

             70.   Plaintiff re-alleges paragraphs 1 through 47 and 56 through 59 as if set forth fully

   herein.

             71.   As more specifically set forth above, Defendant has violated the Rehab Act by

   failing to interface its Website with screen reader software utilized by visually disabled

   individuals. Thus, Defendant has violated the Rehab Act, either directly or through contractual,

   licensing, or other arrangements, with respect to Plaintiff and other similarly situated blind and

   visually disabled individuals solely by reason of their disability:

             a)    By excluding Plaintiff from participation in, denying him the benefits of, and

   subjecting him to, discrimination under any program or activity receiving federal financial

   assistance, Defendant has violated the Rehab Act;

             b)    Congress enacted the Rehab Act to enforce the policy of the United States that all

   programs, projects, and activities receiving federal assistance "be carried out in a manner

   consistent with the principles of ... inclusion, integration and full participation of the individuals

   [with disabilities]." 29 U.S.C. §701(c)(3);

             c)    Defendant is a recipient of federal financial assistance as a whole bringing it under

   the Rehab Act, which prohibits discrimination against qualified or otherwise qualified individuals

   in all of the recipient's "programs or activities";

             d)    Section 504 of the Rehab Act prohibits recipients of federal funding from

   discriminating against disabled persons and requires that all facilities, programs, or activities

   operated by the federally funded entity be readily accessible to persons with disabilities;

             e)    The Rehab Act defines "program or activity" as all of the operations of the entire

   corporation, partnership, or other private organization, or sole proprietorship that receives federal



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   financial assistance as a whole. Defendant's Website with its content is a "program or activity"

   within the meaning of the Rehab Act, 29 U.S.C. §794(b)(3)(A)(i);

           f)      Plaintiff was denied access to the Website solely by reason of his disability. This

   denial of access to Defendant's "program or activity" subjected Plaintiff to discrimination,

   excluded Plaintiff from participation in the program or activity, and denied Plaintiff the benefits

   of the Website, a service available to those persons who are not blind and visually disabled. As of

   this filing, the Website remains inaccessible to qualified or otherwise qualified persons with visual

   disabilities such as Plaintiff;

           g)      The international website standards organization, WC3, has published widely

   accepted guidelines (WCAG 2.0 AA and WCAG 2.1) for making digital content accessible to

   individuals with disabilities.    These guidelines have been endorsed by the United States

   Department of Justice and by the Federal courts and the United States Access Board as being

   applicable to websites; and,

           h)      Defendant has engaged in unlawful practices in violation of Section 504 of the

   Rehab Act, 29 U.S.C. §794, in the maintenance of the Website. These practices include, but are

   not limited to, denying Plaintiff, an individual with a visual disability who, with or without

   reasonable modifications to the rules, policies, or practices, the removal of communication

   barriers, or the provision of auxiliary aids and services, meets the essential eligibility requirements

   for the receipt of services to participate in programs or activities provided by Defendant.

           72.     Defendant has acted with deliberate indifference to the applicable provisions of the

   Rehab Act as to the unlawful practices described herein because Defendant was, is, and has been

   fully aware of the inaccessible features of the Website and has failed to remediate the Website to

   make it equally accessible to persons with visual disabilities, including Plaintiff. Defendant knew



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   that harm to a federally protected right was substantially likely to occur, yet it failed to act on that

   likelihood when it failed to remediate the Website. Defendant knew this and, on information and

   belief, a person with authority with Defendant to order the remediation of the Website made a

   deliberate choice not to remediate it and to continue to offer the inaccessible Website to its

   customers and potential customers knowing that the Website was, and continues to be, inaccessible

   to the blind and visually disabled.

          73.     Plaintiff would like to be a customer at Defendant's brick and mortar store but

   before he goes to the store he would like to determine what is available for his purchasing, what

   promotions are being offered, and what new items are currently available in the store. In that

   regard, Plaintiff continues to attempt to utilize the Website and plans to continue to utilize the

   Website on a regular basis to make selections for purchasing Defendant’s merchandise online or

   in the physical store.

          74.     Plaintiff is continuously aware of the violations at the Website and is aware that it

   would be a futile gesture to attempt to utilize the Website as long as those violations and access

   barriers alleged herein continue to exist, unless he is willing to suffer additional discrimination.

          75.     Plaintiff has suffered, and continues to suffer, frustration and humiliation as a direct

   result of the discriminatory conditions present at the Website. By continuing to operate the

   Website with discriminatory conditions, Defendant contributes to Plaintiff's sense of isolation and

   segregation and deprives Plaintiff the full and equal access to and enjoyment of the goods, services,

   and benefits of Defendant’s programs and activities available to the general public. By

   encountering the discriminatory conditions at the Website and knowing that it would be a futile

   gesture to attempt to utilize the Website unless he is willing to endure additional discrimination,

   Plaintiff is deprived of the meaningful choice of freely visiting and utilizing the same store or the



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   Website readily available to the general public and is deterred and discouraged from doing so. By

   maintaining a website with access barriers and Rehab Act violations, Defendant deprives Plaintiff

   the same equal access to and same participation in the benefits of its programs and activities as the

   non-visually disabled public.

          76.     Plaintiff has suffered and will continue to suffer direct and indirect injury as a result

   of Defendant's present and ongoing discrimination until the Defendant is compelled to comply

   with the requirements of the Rehab Act.

          77.     Plaintiff has a realistic, credible, existing, and continuing threat of discrimination

   from Defendant's noncompliance with the Rehab Act as to the Website as described hereinabove.

   Plaintiff has reasonable grounds to believe that he will continue to be subjected to discrimination

   in violation of the Rehab Act by Defendant. Plaintiff desires to access the Website to avail himself

   of the benefits thereon and/or to assure himself that the Website is in compliance with the Rehab

   Act so he and other similarly situated visually disabled persons will have full and equal access to

   and enjoyment of the Website without fear of discrimination.

          78.     Plaintiff, as well as others who are blind and visually disabled seeking to access the

   Website, will continue to suffer such discrimination, injury, and damage without the immediate

   relief provided by the Rehab Act as requested herein.

          79.     Plaintiff is without adequate remedy at law and is suffering irreparable harm based

   on the facts alleged hereinabove.

          80.     Plaintiff has retained the undersigned counsel to represent him and is entitled to

   recover his attorney's fees, costs, and litigation expenses from Defendant pursuant to the Rehab

   Act.




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           WHEREFORE, Plaintiff requests entry of judgment in his favor and against Defendant for

   the following relief:

           A. A declaration that determines that Defendant's Website at the commencement of the

   subject lawsuit was in violation of the Rehabilitation Act;

           B. A declaration that Defendant's Website continues to be in violation of the Rehabilitation

   Act;

           C. A declaration that Defendant has violated the Rehabilitation Act by failing to monitor

   and maintain its Website to ensure that it is readily accessible to and usable by persons with visual

   disabilities;

           D. Issuance of an Order directing Defendant, by a date certain, to alter its Website to make

   it accessible to, and useable by, individuals with visual disabilities to the full extent required by

   the Rehabilitation Act;

           E. Issuance of an Order directing Defendant to evaluate and neutralize its policies and

   procedures towards persons with disabilities for such reasonable time so as to allow Defendant to

   undertake and complete corrective and remedial procedures;

           F. Issuance of an Order directing Defendant to continually update and maintain its Website

   to ensure that it remains fully accessible to and usable by visually disabled individuals;

           G.      Award Plaintiff any and all compensatory damages for Defendant’s deliberate

   indifference to his rights under the Rehabilitation Act;

           H. Award Plaintiff his attorney's fees, costs, and litigation expenses pursuant to the

   Rehabilitation Act; and

           I. Award such other relief as the Court deems just and proper and is allowable under the

   Rehabilitation Act.



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         DATED: July 22, 2021

   RODERICK V. HANNAH, ESQ., P.A.           LAW OFFICE OF PELAYO
   Counsel for Plaintiff                    DURAN, P.A.
   4800 North Hiatus Rd                     Co-Counsel for Plaintiff
   Sunrise, FL 33351                        4640 N.W. 7th Street
   T. 954/362-3800                          Miami, FL 33126-2309
   954/362-3779 (Facsimile)                 T. 305/266-9780
   Email: rhannah@rhannahlaw.com            305/269-8311 (Facsimile)
                                            Email: duranandassociates@gmail.com


   By____s/ Roderick V. Hannah __           By ___s/ Pelayo M. Duran ______
         RODERICK V. HANNAH                       PELAYO M. DURAN
         Fla. Bar No. 435384                      Fla. Bar No. 0146595




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